Case 2:21-mj-02036-DUTY Document 3 Filed 04/23/21 Pagelofi Page ID#:74

 

FILED
2:21-mj]-02036 -DUTY CLERK, U.S. DISTRICT COURT

4/23/2021
FINDING RE PROBABLE CAUSE CENTRAL DISTRICT OF CALIFORNIA

BY: clee DEPUTY

 

 

 

 

 

 

 

 

On April 23, 2021, at 3:39 p.m., Special Agent Caleb Hodgson of the
Drug Enforcement Administration telephonically appeared before me
regarding the probable cause arrest of defendant MIRELA TODOROVA,
occurring on April 23, 2021, at Los Angeles, California.

Having reviewed the officer’s statement of probable cause, a copy of which
is attached hereto, the Court finds that there exists/dees—net—exist
probable cause to arrest the defendant for a violation of Title 21, United
States Code, Section 841 (Possession with Intent to Distribute Controlled

Substances).

/ xX / It is ordered that defendant MIRELA TODOROVA
be held to answer for proceedings under Federal Rule of Criminal Procedure

5 / 40 on 4/26/2021

 

/ / It is ordered that defendant MIRELA TODOROVA

be discharged from custody on this charge forthwith.

DATED: April 23, 202] at 3:39 PM a-m-/pm

SS

HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE

 
